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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                          Ohio

                  United States of America                         )
                             v.                                    )
  JORDAN FRANCISCO QUIROGA SANCHEZ
                                                                   )     Case No. 1:25-mj-80
BASTIAN ALEJANDRO ORELLANA MORALES, and                            )
     SERGIO ANDRES ORTEGA CABELLO                                  )
                                                                   )
                           Defendant(s)


                                                        CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  DECEMBER 9, 2024            in the county of                 Hamilton       in the
     Southern          District of               Ohio          , the defendant(s) violated:

            Code Section                                                    Offense Description


18 U.S.C. 2314                                    INTERSTATE TRANSPORTATION OF STOLEN PROPERTY;
18 U.S.C. 1519                                    FALSIFICATION OF RECORDS IN A FEDERAL INVESTIGATION




         This criminal complaint is based on these facts:
                   See Affidavit




         ✔ Continued on the attached sheet.
         ’



                                                                                              Complainant’s signature

                                                                                     Special Agent Aaron Bauder, FBI
                                                                                               Printed name and title

Sworn to before me and signed in my presence.
via FaceTime video

Date:     Feb 3, 2025
                                                                                                 Judge’s signature

City and state:                           Cincinnati, Ohio                    Hon. Karen L. Litkovitz, U.S. Magistrate Judge
                                                                                               Printed name and title
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                                AFFIDAVIT IN SUPPORT OF A

                   CRIMINAL COMPLAINT AND ARREST WARRANT

                                           AFFIDAVIT

       I, Aaron Bauder, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of a criminal complaint charging Jordan Francisco

Quiroga SANCHEZ and Bastian Alejandro Orellana MORALES with one violation Title 18,

United States Code, Section 2314, Interstate Transportation of Stolen Property, and Sergio Andres

Ortega CABELLO with one violation of Title 18, United States Code, Section 1519, Falsification

of Records in a Federal Investigation.

       2.      I am a Special Agent with the Federal Bureau of Investigation (FBI) assigned to

the Cincinnati, Ohio Field Office Division, and have been so employed since 2019. As a Special

Agent, I am authorized to investigate violations of laws of the United States and to execute

warrants issued under the authority of the United States. I am currently assigned to investigate

matters involving violent crimes, gangs, robberies, criminal enterprises, narcotics, and violent

crimes against children. I have participated in the preparation and execution of Federal arrest

and search warrants in my position as a Special Agent. I have also been involved with the

analysis of pen registers, the monitoring of Title III wire intercepts, and the installation and

monitoring of tracking devices for vehicles in relation to the investigations with which I have

been involved. I have also utilized confidential human sources, pen registers, toll records,

physical surveillances, and electronic surveillances in the process of the investigations in which I

have been involved. Further, I have been the affiant on Federal search warrants, arrest warrants,

Title III wire intercepts, and have written reports during these investigations. The facts in this

affidavit come from my personal observations, my training and experience, and information
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obtained from other agents and witnesses. This affidavit is intended to show merely that there is

sufficient probable cause for the requested warrant and does not set forth all of my knowledge

about this matter.

       3.      Through my training and experience as well as discussions with other law

enforcement investigators and cooperating suspects, I have become familiar with methods

utilized by South American Theft Groups to disguise their illegal activities and the manner in

which they conduct these illegal activities. Furthermore, I have become familiar with the

activities of South American Theft Groups.

       4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses.

       5.      Since this affidavit is being submitted for the limited purpose of establishing

probable cause authorizing the arrest of SANCHEZ, MORALES, and CABELLO, I have not

included each and every fact and circumstance of which I am aware. I have set forth only those

facts which I believe are necessary to establish such probable cause.

                                      PROBABLE CAUSE

       6.      On December 9, 2024, at approximately 8:14PM, law enforcement responded to

7995 Ayers Road, Cincinnati Ohio, (RESIDENCE) in reference to a reported burglary. The

residence is owned by J.B., an NFL player for the Cincinnati Bengals.

       7.      Upon arriving, investigators discovered that nearly $300,000 worth of designer

luggage, glasses, wrist watches, and jewelry had been stolen from the residence. J.B. was not in

the residence at the time of the burglary, as he was in Dallas, Texas for an NFL game. An

associate of J.B., O. P., had been dropped off at the residence shortly after 8:00PM and noticed

that the living room and master bedroom looked unusually messy. She then observed that a

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master bedroom window on the back side of the residence had been broken. The window was

located at the southwest corner of the residence and faced a wooded area.

       8.      The burglary likely occurred between approximately 6:00PM and 8:14PM on

December 9, 2024. Notably, J.B. was away from the residence from approximately 2:30PM on

December 8, 2024, through the time of the burglary, due to playing in an NFL game in Dallas,

Texas on the evening of December 9, 2024. Although J.B. was out of state at the time, a security

detail had been deployed to watch the residence while he was gone. At approximately 6:00PM, a

shift change occurred with the security detail. This involved a walk around the perimeter of the

house, during which no windows appeared to be broken. After 6:00PM, and during the likely

time of the burglary, the security detail was positioned in the driveway at the front of the

residence. Due to these factors, it its believed that the burglars entered the property from the

woods located to the southwest of the house, which would have been out of sight of the security

detail. They then forced entry through the bedroom window at the rear of the house. No security

cameras were located at the rear of the residence.

       9.      On December 10, 2024, law enforcement investigators returned to the scene to

continue the investigation. It was discovered that a decorative topper to one of the fence posts

had been knocked to the ground. Moreover, a tracking K-9 was deployed in an attempt to follow

the path of the burglars. After an article search, the K-9 traveled through the back yard and

moved eastbound, in the direction of Eight Mile Road. The K-9 eventually stopped tracking in

the vicinity of 7980 Old Kellogg Road. The residence located at 7980 Old Kellogg Road is

currently vacant and listed for sale. The property is connected directly to J.B.’s property.

       10.     Investigators made contact with the HOA President, who provided an image from

a trail camera that was located in the vicinity of 7996 Ayers Road. The trail camera image was

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dated December 9, 2024, with a time stamp of 7:18PM [approximate]. The image displayed what

appeared to be a single person walking through the wooded area, carrying what appeared to be a

piece of luggage.

        11.    On December 11, 2024, investigators discovered a vehicle of interest while

utilizing “license plate readers” (LPR) in the area of the incident. On December 9, at

approximately 7:28PM, an LPR camera located near 8100 Old Kellogg Road and Eight Mile

Road (near the residence) captured an image of a white colored 2024 Volkswagen Atlas SUV

bearing Florida license plate RDDR37 (SUBJECT VEHICLE). The SUBJECT VEHICLCE was

captured on an LPR located near 365 Eastern Boulevard, Jeffersonville, Indiana, at

approximately 9:09PM on December 9, 2024. Further investigation indicated that the vehicle

was captured on LPRs in Florida on December 8, 2024, and again in Florida on December 10,

2024.

        12.    On December 12, 2024, a representative from the McDonald’s located at 599

Northwest 62nd Street, Miami, Florida 33150, provided a still frame of the 2024 Volkswagen in

their parking lot to investigators (photo below). The photo showed the driver of the vehicle

standing in between the SUBJECT VEHICLE and another vehicle with its lights on. The camera

footage was timestamped at 1:30AM EST on December 11, 2024.




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       13.     Furthermore, investigators learned that on December 11, at approximately

10:00AM, the (SUBJECT VEHICLE) was towed from the McDonald’s by a private towing

company after being reported as abandoned. Investigation into the vehicle ownership is ongoing.

       14.     The modus operandi (M.O.) of this burglary is consistent with burglaries executed

by South American Theft Groups (SATG). SATG’s are known for several organized crime

trends including pickpocket crimes, commercial burglaries, and residential burglaries. The

SATG M.O. for residential burglaries include targeting high-end houses that back up to green

spaces, walking trails, golf courses, or other undeveloped land that are used to conceal the

approach of the suspects. They then gain access to the residence through a rear window or glass

door, on the second floor when possible. Items targeted are predominately jewelry and designer

accessories often leaving behind other valuable items. SATG’s coordinate their efforts from

coastal locations such as New York, California, and Florida. Typically, after the burglaries are

committed, the SATG returns to one of these coastal locations to fence the items stolen. The

groups usually consist of foreign nationals from South America who either enter the country


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illegally or overstay on visas to continue committing their crimes. SATG’s often travel using

rental vehicles and will carry false identifications and documents.

       15.     In recent months, several agencies across the United States have shared

information via email regarding these burglaries through a nationwide SATG working group that

is maintained by the FBI. These agencies have had burglaries that fit the SATG M.O. wherein

professional athletes were the victims. Many of these cases share similar fact patterns to the

burglary described above.

       16.     On December 16, 2024, a Hamilton County Sheriff’s detective made contact with

the owner of the SUJECT VEHICLE, Yuriy KOROTOVSKYY. KOROTOVSKYY provided a

lease agreement for the SUBJECT VEHICLE, which revealed that the vehicle was rented by

JULIAN ANDRES SANCHEZ MENDOZA (MENDOZA). MENDOZA was later identified by

law enforcement as Sergio Andres Ortega CABELLO (CABELLO). CABELLO provided a fake

photo ID to KOROTOVSKYY which is pictured below:




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       17.     Furthermore, a photograph of CABELLO and his passenger, later identified by

law enforcement to be Bastian Alejandro Orellana MORALES (MORALES), was taken by

KOROTOVSKYY at the time the vehicle was rented. KOROTOVSKYY voluntarily provided

the photograph to investigators which shows CABELLO and his accomplice inside of the

SUBJECT VEHICLE:




       18.     Based on my training and experience, I believe that the SUBJECT VEHICLE

mentioned in the above paragraphs was likely used by the burglars. Several local investigations

have been perpetuated by similar SATG groups utilizing vehicles with Florida license plates.

These vehicles are often rented in Florida, driven to Ohio to execute the criminal activity, and

returned to Florida soon thereafter. This incident follows a similar fact pattern. LPRs have shown

that the vehicle was near the residence around the time of the burglary. Moreover, the vehicle

was located in Florida one day before and one day after the incident.

       19.     On December 17, 2024, United States Magistrate Judge Karen L. Litkovitz signed

a search warrant for the cellular tower data surrounding the timeframe of the J.B. burglary, which

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included the Cincinnati LPR Camera, the Jeffersonville, Indiana LPR camera, and the

McDonald’s in Miami, FL. (see Southern District of Ohio Case No. 1:24-MJ-987).

        20.    After receiving the records for the aforementioned search warrant detailed in the

above paragraph, law enforcement learned of multiple suspected T-Mobile accounts that were

identified by their IMSI’s and IMEI’s. One of the phone numbers was identified as 347-598-

9991.

        21.    Based on my training and experience with SATG investigations, I know subjects

involved in SATG’s and organized crime will often have multiple cellular devices that are used

to further their criminal acts. Additionally, I know that subjects involved in SATG’s will

routinely activate and de-activate cellular devices, sometimes after as little as one month, to deter

and disrupt law enforcement. By “dropping” cellular telephones within the one-month time

period, SATG’s can continue to disrupt law enforcement efforts to identify the user’s cellular

telephone number, the user’s identity, and the user’s location data. Additionally, I know that

SATG’s commonly use cellular devices to perpetuate their criminal acts by communicating with

one another before, during, and after their criminal acts. Furthermore, I know that SATG’s will

routinely take photographs, videos, send text messages, use encrypted messaging applications,

and use Internet web search platforms to search their potential victims, addresses, and value to

the merchandise that was stolen.

        22.    On January 3, 2025, U.S. Magistrate Judge Thomas Wilson out of the Middle

District of Florida, signed a search warrant authorizing geographic location of 347-598-9991.

        23.    Location history showed that the 347-598-9991 device was in the vicinity of

J.B.’s residence on December 9, 2024. Additionally, ping data revealed that the number was in

the vicinity of Orlando, FL on January 7, 2025, and travelled North to the Greene County, OH

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area on January 8, 2025. Investigators contacted neighboring law enforcement agencies and used

license plate readers (LPRs) to locate a vehicle with a Florida plate 87BHHC, that had location

history showing in Florida, Greene County, OH, and in the Columbus, OH area, which matched

ping locations for the phone number 347-598-9991. Investigators were able to locate the vehicle

at the La Quinta Hotel in Fairborn, OH.

       24.     On January 10, 2025, investigators observed four males exit the La Quinta Hotel,

located at 2540 University Boulevard, Fairborn, Ohio. The males were observed carrying

designer-style luggage and entered a black Chevrolet Blazer with Florida registration 87BHHC.

A male on the rear driver’s side, later identified as Sergio Andres Ortega CABELLO, pulled up

next to a vehicle occupied by two plain clothes law enforcement officers and used a cellular

device to take photographs of the vehicle before leaving La Quinta. When the vehicle left the

hotel, the cell phone pings began moving in the same direction as the vehicle.

       25.     Investigators and Ohio State Highway Patrol (OSP) marked units conducted

surveillance on the black Chevrolet Blazer. Officers observed a marked lanes violation on IR-70

and a traffic stop was initiated on IR-70 at approximately 1:49PM.

       26.     OSP learned that the driver, Jordan Francisco Quiroga SANCHEZ, did not have a

valid driver’s license and presented a likely fake identification card from Argentina with the

name Valentino Gonzalez Diaz. OSP received identification cards from the other three occupants

of the black Blazer. The front seat passenger presented a likely fake identification card from

Venezuela with the name Juan Contreras Morales, and has been identified as Bastian Alejandro

Orellana MORALES. The rear driver’s side occupant presented a identification card from

Argentina with the name Julian Andres Sanchez Mendoza. This individual has since been

identified as Sergio Andres Ortega CABELLO. Of note, this was the same identification card

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that CABELLO used to rent the 2024 Volkswagen Atlas as mentioned in the above paragraphs.

The rear passenger’s side occupant presented a New York State driver’s license with the name

Alexander Esteban Huaiquil CHAVEZ, which investigators learned was his true identification.

       27.      After the four subject’s true identifications were learned, all four males were

identified through law enforcement indices as being illegally in the country or overstayed their

permissions. OSP conducted an inventory search of the black Blazer and located two Husky

automatic center punch tools wrapped in a cloth towel in the area of the glove compartment.

Based on my training and experience, I know that this style of tool is used by SATG’s to break

glass and enter houses. Also observed in the black Blazer was an old LSU shirt and Bengals hat,

believed to be stolen from the December 9, 2024, burglary of J.B.’s residence in Hamilton

County, Ohio.

       28.      All four occupants were transported to the Clark County Sheriff’s Office for

further investigation. An investigator called target phone number ending in 9991 and one of the

two cell phones that Jordan Francisco Quiroga Sanchez possessed started ringing. Investigators

previously conducted a search warrant for historical cell site data on this phone number and can

place this phone in the area of the December 9, 2024, burglary in Hamilton County, Ohio and

also at a McDonald’s in Miami, Florida on December 11, 2024.

       29.      Bastian Alejandro Orellana MORALES, wearing a blue winter jacket, carrying a

Louis Vuitton duffle style bag was previously identified as a male possibly involved in the

burglary offense on December 9, 2024, in Hamilton County, Ohio. On December 11, 2024,

MORALES was also observed by investigators on surveillance footage at a McDonald’s in

Miami, Florida exiting a white Volkswagen Atlas with Florida registration RDDR37 known to

be in the area of the burglary on December 9, 2024.

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       30.     Investigators recognized the green duffle style canvas and leather bag being

carried by one of the males, Alexander Esteban Huaiquil CHAVEZ, as he was walking out of the

La Quinta Hotel. The bag appeared similar to the bag previously seen on the McDonalds

surveillance footage exiting the Volkswagen Atlas in Miami, Florida, on December 11, 2024,

and entering into a black Jeep Cherokee with Florida registration 45DCBN.

       31.     All four occupants were interviewed at the Clark County Sheriff’s Office after

being read their Miranda Rights in an interview room. SANCHEZ and CABELLO advised that

they were in Ohio for vacation to see the snow but shared little other information with

investigators prior to requesting legal representation. CHAVEZ explained to investigators that he

was just visiting Ohio with the other Chileans and that he did not know their real names.

CHAVEZ admitted to purchasing a glass breaker Husky tool at Home Depot but would not give

a reason why he purchased this tool.

       32.     Your affiant and a Hamilton County Sheriff’s Detective conducted the post-

Miranda Subject interview of MORALES, who provided that he was just visiting Ohio to see the

snow and had never been to Ohio previously. He was shown a picture of himself and CABELLO

seated in the Volkswagen Atlas shown above in paragraph 17. MORALES confirmed that he

was in fact the individual seated in the passenger seat of the Atlas.

       33.     State investigators executed search warrants to download the six (6) cell phones

and one (1) Apple Watch from these subjects and the black Blazer they were in when arrested.

Forensic analysis of CABELLO’s cell phone revealed photos of jewelry confirmed to be stolen

from J.B.’s residence in December of 2024. The photograph below, taken on December 10,

2024, shows CABELLO, MORALES, SANCHEZ, and an individual believed to be Matias

Ignacio CONTRERAS SANCHEZ:

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       34.     Further analysis of CABELLO’s phone revealed multiple photographs that had

been taken of items believed to be stolen from J.B.’s residence. According to the forensic

analysis conducted on the phone, many of these photographs had been deleted during the same

time frame as the traffic stop with OSP on January 10, 2025.

       35.     For example, the photograph extracted from CABELLO’s phone shows multiple

items stolen from J.B.’s residence. The photograph was taken at approximately 12:37PM EST

(UTC-5) on December 10, 2024, and was deleted at approximately 2:03PM EST (UTC-5) on

January 10, 2025. As discussed above, the traffic stop was initiated by OSP at approximately

1:49PM on January 10, 2025.
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       36.     Based on the forensic analysis of the phone and my training and experience, I

believe that CABELLO deleted photos linking his phone to the burglary while the traffic stop

was being conducted. This particular photograph was taken one day after the burglary and was

deleted from his phone just minutes after the traffic stop had been initiated, likely allowing

CABELLO time to delete them while as law enforcement was engaged with the traffic stop.

       37.     Moreover, a photograph of the rear of J.B.’s residence located at 7995 Ayers

Road was extracted from CABELLO’s phone, with a similar fact pattern. As pictured below, the

photograph was taken at approximately 7:12PM ETC (UTC-5) on December 9, 2024, the day

and approximate time of the burglary. The photo was subsequently deleted during the time of the

OSP traffic stop.




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       38.     A forensic extraction of SANCHEZ’ phone ending in 9991 revealed additional

photographs of SANCHEZ and MORALES wearing jewelry stolen from J.B.’s residence while

in Florida, several days after the burglary. For example, the photograph below taken on

December 20, 2024, shows SANZHEZ and MORALES wearing jewelry believed to be stolen

from J.B.’s residence. The corresponding geo-location data associated with the photograph

below indicate that the photo was taken in the vicinity of southeast Orlando, Florida.




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       39.    An additional photo (below) from SANCHEZ’s phone shows him wearing

jewelry believed to have been stolen during the burglary of J.B.’s residence. The photo was taken

on December 25th, 2024, and the geolocation data also corresponds to southeast Orlando, Florida.




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       40.     Based on my training and experience, I believe that SANCHEZ, MORALES, and

other members of the group traveled outside of the state of Ohio following the burglary of 7995

Ayers Road, Cincinnati, Ohio, while in possession of the stolen items. The group was still in

possession of at least some of the stolen items when they returned to Florida and were in

possession of at least some of the items as late as December 25, 2024.

                                            CONCLUSION

       41.     Based upon the information provided within this affidavit, I believe that probable

cause has been shown that, beginning on a date unknown, but by at least in or about December

2024, and continuing through on or about January 10, 2025, Jordan Francisco Quiroga

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SANCHEZ and Bastian Alejandro Orellana MORALES violated Title 18, United States Code,

Section 2314, Interstate Transportation of Stolen Property by using false identification to rent a

vehicle in Florida, transporting it across state lines to commit a burglary, and returning to Florida

while in possession of stolen property. I also believe that probable cause has been shown that on

or around January 10, 2025, Sergio Andres Ortega CABELLO violated Title 18, United States

Code, Section 1519, Falsification of Records in a Federal Investigation by deleting cell phone

photographs linking himself to the burglary of J.B.’s residence on or about December 9, 2024.



                                                   Respectfully submitted,




                                                   Aaron Bauder
                                                   Special Agent
                                                   Federal Bureau of Investigation



Subscribed and sworn to before me via reliable electronic means on February____,
                                                                             3 2025.



_________________________________________
HONORABLE KAREN L. LITKOVITZ
UNITED STATES MAGISTRATE JUDGE




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